                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                                  Plaintiff,

        v.                                                      Case No. 23-CR-119

CORY J. HERTHEL,

                                  Defendant.



                                         PLEA AGREEMENT



       1.          The United States of America, by its attorneys, Gregory J. Haanstad United States

Attorney for the Eastern District of Wisconsin, and Daniel R. Humble, Assistant United States

Attorney, and the defendant, Cory J. Herthel, individually and by attorney Eric S. Maciolek,

pursuant to Rule 11 of the Federal Rules of Criminal Procedure, enter into the following plea

agreement:

                                               CHARGES

       2.          The defendant has been charged in a two-count indictment, which alleges

violations of Title 18, United States Code, Section 2251(a).

       3.          The defendant has read and fully understands the charges contained in the

indictment. He fully understands the nature and elements of the crimes with which he has been

charged, and those charges and the terms and conditions of the plea agreement have been fully

explained to him by his attorney.

       4.          The defendant voluntarily agrees to plead guilty to the following count set forth in

full as follows:
                                          COUNT ONE

                          (Attempted Sexual Exploitation of a Child)

       THE GRAND JURY CHARGES THAT:

       On or about May 24, 2023, in the State and Eastern District of Wisconsin and

elsewhere,

                                       CORY J. HERTHEL

knowingly attempted to employ, use, persuade, induce, entice, and coerce a minor under

the age of 18, to engage in sexually explicit conduct for the purpose of producing a visual

depiction of such conduct, namely attempting to obtain a visual depiction of a minor under

the age of 18 engaged in the lascivious exhibition of his genitals, which he knew and had

reason to know would be mailed and transported across state lines and in foreign

commerce.

       In violation of Title 18, United States Code, Section 2251(a).

      5.       The defendant acknowledges, understands, and agrees that he is, in fact, guilty of

the offense described in paragraph 4. The parties acknowledge and understand that if this case

were to proceed to trial, the government would be able to prove the following facts beyond a

reasonable doubt. The defendant admits that these facts are true and correct and establish his

guilt beyond a reasonable doubt:

       In May of 2023, the FBI Resident Agency in Green Bay, in the State and Eastern District

of Wisconsin, was contacted by a local church which reported that it had received information

indicating that its pastor, Cory J. Herthel, was possibly involved in an inappropriate relationship

with a 15 year-old minor in Venezuela.




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        An investigation ensued which revealed that the defendant had sent both images his

genitals and masturbation videos to the boy, and the minor had likewise sent images of himself

engaged in masturbation and his genitals. The images of the minor were in response to requests

by the defendant requesting sexually explicit images.

        On June 1, 2023, Herthel voluntarily came to the Green Bay Police Department (GBPD)

and agreed to speak with the FBI Special Agents and a GBPD Detective. He acknowledged

knowing the 15 year-old from a mission trip he had taken to Ecuador, where he met the child

begging on the streets. The child and his mother returned to his native Venezuela and Herthel

kept in touch with the child. Herthel was confronted with images of him masturbating and

acknowledged sending the videos to the child whom he knew to be 15 years old. Herthel was

also asked about sexually explicit images and masturbation videos that the 15-year-old sent him.

He acknowledged asking the child for the images and videos and acknowledged pleasuring

himself to the videos and images.

        The defendant well knew or had reason to know that the May 24, 2023, visual depiction

of the minor lasciviously exhibiting his genitals would be transmitted state lines and in foreign

commerce, as the victim was located in Venezuela and the defendant was then located in the

Eastern District of Wisconsin. This visual depiction forms the basis of the charge in Count One

of the indictment.

        This information is provided for the purpose of setting forth a factual basis for the plea of

guilty. It is not a full recitation of the defendant’s knowledge of, or participation in, this offense.

                                            PENALTIES

       6.       The parties understand and agree that the offense to which the defendant will

enter a plea of guilty carries the following maximum term of imprisonment and fine: 30 years

and $250,000. The count also carries a mandatory minimum of 15 years of imprisonment. The
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count also carries a mandatory special assessment of $100, at least 5 years of supervised release,

and a maximum of a lifetime on supervised release. The parties further recognize that a

restitution order may be entered by the court.

      7.       If the court determines that the defendant is non-indigent, the court must impose a

$5,000 special assessment for each count of conviction pursuant to 18 U.S.C. '3014(a)(3). This

amount cannot be reduced and it applies to offenses committed after the date of May 29, 2015.

      8.       The defendant acknowledges, understands, and agrees that he has discussed the

relevant statutes as well as the applicable sentencing guidelines with his attorney.

                             DISMISSAL OF REMAINING COUNT

      9.       The government agrees to move to dismiss the remaining counts of the indictment

at the time of sentencing.

                                           ELEMENTS

      10.      The parties understand and agree that in order to sustain the charge of attempted

sexual exploitation of a minor as set forth in Count One, the government must prove each of the

following propositions beyond a reasonable doubt:

       First, that the victim was under the age of eighteen years;

       Second, that the defendant, for purpose of producing a visual depiction of such conduct,

attempted to employ, use, persuade or coerce the person identified in the indictment to take part in

sexually explicit conduct; and

       Third, the defendant knew or had reason to know that such visual depiction would be

mailed or transported across state lines or in foreign commerce, or the visual depiction was

transmitted using materials that had been mailed, shipped, transported across state lines or in

foreign commerce.



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                                  SENTENCING PROVISIONS

      11.      The parties agree to waive the time limits in Fed. R. Crim. P. 32 relating to the

presentence report, including that the presentence report be disclosed not less than 35 days

before the sentencing hearing, in favor of a schedule for disclosure, and the filing of any

objections, to be established by the court at the change of plea hearing.

      12.      The parties acknowledge, understand, and agree that any sentence imposed by the

court will be pursuant to the Sentencing Reform Act, and that the court will give due regard to

the Sentencing Guidelines when sentencing the defendant.

      13.      The parties acknowledge and agree that they have discussed all of the sentencing

guidelines provisions which they believe to be applicable to the offense set forth in paragraph 4.

The defendant acknowledges and agrees that his attorney in turn has discussed the applicable

sentencing guidelines provisions with him to the defendant’s satisfaction.

      14.      The parties acknowledge and understand that prior to sentencing the United States

Probation Office will conduct its own investigation of the defendant’s criminal history. The

parties further acknowledge and understand that, at the time the defendant enters a guilty plea,

the parties may not have full and complete information regarding the defendant’s criminal

history. The parties acknowledge, understand, and agree that the defendant may not move to

withdraw the guilty plea solely as a result of the sentencing court’s determination of the

defendant’s criminal history.

                                Sentencing Guidelines Calculations

      15.      The defendant acknowledges and understands that the sentencing guidelines

recommendations contained in this agreement do not create any right to be sentenced within any

particular sentence range, and that the court may impose a reasonable sentence above or below

the guideline range. The parties further understand and agree that if the defendant has provided
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false, incomplete, or inaccurate information that affects the calculations, the government is not

bound to make the recommendations contained in this agreement.

                                        Relevant Conduct

      16.      The parties acknowledge, understand, and agree that pursuant to Sentencing

Guidelines Manual § 1B1.3, the sentencing judge may consider relevant conduct in calculating

the sentencing guidelines range, even if the relevant conduct is not the subject of the offense to

which the defendant is pleading guilty. The defendant agrees that the Court may consider any

reliable information regarding additional acts involving minors committed by the defendant.

                                       Base Offense Level

      17.      The parties acknowledge and understand that the government will recommend to

the sentencing court that the applicable base offense level for the offense charged in Count One

is 32 under Sentencing Guidelines Manual § 2G2.1(a).

                                Specific Offense Characteristics

      18.      The parties acknowledge and understand that the government will recommend to

the sentencing court that a 2-level increase for a victim under 16 years-old under Sentencing

Guidelines Manual § 2G2.1(b)(1)(B) is applicable to the offense level for the offense charged in

Count One.

                                  Acceptance of Responsibility

      19.      The government agrees to recommend a two-level decrease for acceptance of

responsibility as authorized by Sentencing Guidelines Manual § 3E1.1(a), but only if the

defendant exhibits conduct consistent with the acceptance of responsibility. The defendant

acknowledges, understands, and agrees that conduct consistent with the acceptance of

responsibility includes but is not limited to the defendant’s voluntary identification and

disclosure to the government of any and all actual or potential victims of the offense prior to
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sentencing. In addition, if the court determines at the time of sentencing that the defendant is

entitled to the two-level reduction under § 3E1.1(a), the government agrees to make a motion

recommending an additional one-level decrease as authorized by Sentencing Guidelines Manual

§ 3E1.1(b) because the defendant timely notified authorities of his intention to enter a plea of

guilty.

                                 Sentencing Recommendations

      20.      Both parties reserve the right to provide the district court and the probation office

with any and all information which might be pertinent to the sentencing process, including but

not limited to any and all conduct related to the offense as well as any and all matters which

might constitute aggravating or mitigating sentencing factors.

      21.      Both parties reserve the right to make any recommendation regarding any and all

factors pertinent to the determination of the sentencing guideline range; the fine to be imposed;

the amount of restitution and the terms and condition of its payment; the length of supervised

release and the terms and conditions of the release; the defendant’s custodial status pending the

sentencing; and any other matters not specifically addressed by this agreement.

      22.      The government agrees to recommend 180 months’ imprisonment, the mandatory

minimum sentence for this offense. The government recommends a substantial period on

Supervised Release. The defendant is free to argue for any term of Supervised Release subject to

the mandatory minimum term of 5 years.

                             Court’s Determinations at Sentencing

      23.      The parties acknowledge, understand, and agree that neither the sentencing court

nor the United States Probation Office is a party to or bound by this agreement. The United

States Probation Office will make its own recommendations to the sentencing court. The

sentencing court will make its own determinations regarding any and all issues relating to the
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imposition of sentence and may impose any sentence authorized by law up to the maximum

penalties set forth in paragraph 6 above. The parties further understand that the sentencing court

will be guided by the sentencing guidelines but will not be bound by the sentencing guidelines

and may impose a reasonable sentence above or below the calculated guideline range.

      24.      The parties acknowledge, understand, and agree that the defendant may not move

to withdraw the guilty plea solely as a result of the sentence imposed by the court.

                                    FINANCIAL MATTERS

      25.      The defendant acknowledges and understands that any and all financial

obligations imposed by the sentencing court are due and payable in full upon entry of the

judgment of conviction. The defendant further understands that any payment schedule imposed

by the sentencing court shall be the minimum the defendant is expected to pay and that the

government’s collection of any and all court imposed financial obligations is not limited to the

payment schedule. The defendant agrees not to request any delay or stay in payment of any and

all financial obligations. If the defendant is incarcerated, the defendant agrees to participate in

the Bureau of Prisons’ Inmate Financial Responsibility Program, regardless of whether the court

specifically directs participation or imposes a schedule of payments.

      26.       The defendant agrees to provide to the Financial Litigation Program (FLP) of the

United States Attorney’s Office, at least 30 days before sentencing, and also upon request of the

FLP during any period of probation or supervised release imposed by the court, a complete and

sworn financial statement on a form provided by FLP and any documentation required by the

form. The defendant further agrees, upon request of FLP whether made before or after

sentencing, to promptly: cooperate in the identification of assets in which the defendant has an

interest, cooperate in the liquidation of any such assets, and participate in an asset deposition.



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                                        Special Assessment

      27.        The defendant agrees to pay the special assessment in the amount of $100 prior to

or at the time of sentencing.

                                             Restitution

      28.        The defendant agrees to pay restitution as ordered by the court. The defendant

agrees to cooperate in efforts to collect the restitution obligation. The defendant understands that

imposition or payment of restitution will not restrict or preclude the filing of any civil suit or

administrative action.

                             DEFENDANT’S WAIVER OF RIGHTS

      29.        In entering this agreement, the defendant acknowledges and understands that he

surrenders any claims he may have raised in any pretrial motion, as well as certain rights which

include the following:

            a.      If the defendant persisted in a plea of not guilty to the charges against him, he
                    would be entitled to a speedy and public trial by a court or jury. The defendant
                    has a right to a jury trial. However, in order that the trial be conducted by the
                    judge sitting without a jury, the defendant, the government and the judge all
                    must agree that the trial be conducted by the judge without a jury.

            b.      If the trial is a jury trial, the jury would be composed of twelve citizens
                    selected at random. The defendant and his attorney would have a say in who
                    the jurors would be by removing prospective jurors for cause where actual
                    bias or other disqualification is shown, or without cause by exercising
                    peremptory challenges. The jury would have to agree unanimously before it
                    could return a verdict of guilty. The court would instruct the jury that the
                    defendant is presumed innocent until such time, if ever, as the government
                    establishes guilt by competent evidence to the satisfaction of the jury beyond a
                    reasonable doubt.

            c.      If the trial is held by the judge without a jury, the judge would find the facts
                    and determine, after hearing all of the evidence, whether or not he was
                    persuaded of defendant’s guilt beyond a reasonable doubt.

            d.      At such trial, whether by a judge or a jury, the government would be required
                    to present witnesses and other evidence against the defendant. The defendant
                    would be able to confront witnesses upon whose testimony the government is
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                     relying to obtain a conviction and he would have the right to cross-examine
                     those witnesses. In turn the defendant could, but is not obligated to, present
                     witnesses and other evidence on his own behalf. The defendant would be
                     entitled to compulsory process to call witnesses.

             e.      At such trial, defendant would have a privilege against self-incrimination so
                     that he could decline to testify and no inference of guilt could be drawn from
                     his refusal to testify. If defendant desired to do so, he could testify on his own
                     behalf.

      30.         The defendant acknowledges and understands that by pleading guilty he is

waiving all the rights set forth above. The defendant further acknowledges the fact that his

attorney has explained these rights to him and the consequences of his waiver of these rights.

The defendant further acknowledges that as a part of the guilty plea hearing, the court may

question the defendant under oath, on the record, and in the presence of counsel about the

offense to which the defendant intends to plead guilty. The defendant further understands that the

defendant’s answers may later be used against the defendant in a prosecution for perjury or false

statement.

      31.         The defendant acknowledges and understands that he will be adjudicated guilty of

the offense to which he will plead guilty and thereby may be deprived of certain rights, including

but not limited to the right to vote, to hold public office, to serve on a jury, to possess firearms,

and to be employed by a federally insured financial institution.

      32.         The defendant knowingly and voluntarily waives all claims he may have based

upon the statute of limitations, the Speedy Trial Act, and the speedy trial provisions of the Sixth

Amendment. The defendant agrees that any delay between the filing of this agreement and the

entry of the defendant’s guilty plea pursuant to this agreement constitutes excludable time under

the Speedy Trial Act.




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                             Further Civil or Administrative Action

      33.       The defendant acknowledges, understands, and agrees that the defendant has

discussed with his attorney and understands that nothing contained in this agreement, including

any attachment, is meant to limit the rights and authority of the United States of America or any

other state or local government to take further civil, administrative, or regulatory action against

the defendant, including but not limited to any listing and debarment proceedings to restrict

rights and opportunities of the defendant to contract with or receive assistance, loans, and

benefits from United States government agencies.

                                MISCELLANEOUS MATTERS

      34.       Pursuant to 18 U.S.C. § 3583(d), the defendant has been advised and understands

the court shall order as a mandatory condition of supervised release, that the defendant comply

with state sex offender registration requirements. The defendant also has been advised and

understands that under the Sex Offender Registration and Notification Act, a federal law, he

must register and keep the registration current in each of the following jurisdictions: the location

of his residence; the location of his employment; and, if he is a student, the location of his

school. Registration will require that the defendant provide information that includes, name,

residence address, and the names and addresses of any places at which he will be an employee or

a student. The defendant understands that he must update his registration not later than three

business days after any change of name, residence, employment, or student status. The defendant

understands that failure to comply with these obligations may subject him to prosecution for

failure to register under federal law, 18 U.S.C. § 2250, which is punishable by a fine and/or

imprisonment.




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                                     GENERAL MATTERS

      35.      The parties acknowledge, understand, and agree that this agreement does not

require the government to take, or not to take, any particular position in any post-conviction

motion or appeal.

      36.      The parties acknowledge, understand, and agree that the United States Attorney’s

office is free to notify any local, state, or federal agency of the defendant’s conviction.

      37.      The defendant understands that pursuant to the Victim and Witness Protection

Act, the Justice for All Act, and regulations promulgated thereto by the Attorney General of the

United States, the victim of a crime may make a statement describing the impact of the offense

on the victim and further may make a recommendation regarding the sentence to be imposed.

The defendant acknowledges and understands that comments and recommendations by a victim

may be different from those of the parties to this agreement.

             EFFECT OF DEFENDANT’S BREACH OF PLEA AGREEMENT

      38.      The defendant acknowledges and understands if he violates any term of this

agreement at any time, engages in any further criminal activity prior to sentencing, or fails to

appear for sentencing, this agreement shall become null and void at the discretion of the

government. The defendant further acknowledges and understands that the government’s

agreement to dismiss any charge is conditional upon final resolution of this matter. If this plea

agreement is revoked or if the defendant’s conviction ultimately is overturned, then the

government retains the right to reinstate any and all dismissed charges and to file any and all

charges which were not filed because of this agreement. The defendant hereby knowingly and

voluntarily waives any defense based on the applicable statute of limitations for any charges filed

against the defendant as a result of his breach of this agreement. The defendant understands,

however, that the government may elect to proceed with the guilty plea and sentencing. If the
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defendant and his attorney have signed a proffer letter in connection with this case, then the

defendant further acknowledges and understands that he continues to be subject to the terms of

the proffer letter.

                       VOLUNTARINESS OF DEFENDANT’S PLEA

      39.       The defendant acknowledges, understands, and agrees that he will plead guilty

freely and voluntarily because he is in fact guilty. The defendant further acknowledges and

agrees that no threats, promises, representations, or other inducements have been made, nor

agreements reached, other than those set forth in this agreement, to induce the defendant to plead

guilty.




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